                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                        )
                                                )   CASE NO. DNCW3:06CR96-4
               v.                               )   (Financial Litigation Unit)
                                                )
                                                )
KIM DAURIA                                      )

                                   WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and Unclaimed Property Administrator, New Jersey Department of Treasury:

       A judgment was entered on April 21, 2009 in the United States District Court for the

Western District of North Carolina in favor of the United States of America and against Defendant

Kim Dauria, whose last known address is XXXXXXXXXXXXXX, Wood Leaf, North Carolina

27054, in the sum of $691,346.62. The balance on the account as of August 28, 2012 is

$670,130.13.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and the Unclaimed Property Administrator for the State of New Jersey Department of the Treasury

is commanded to turn over property in which Defendant, whose social security number is XXX-

XX-1138, has a substantial non-exempt interest, said property being funds held in the name of Kim

M. Dauria by the State of New Jersey Department of the Treasury Unclaimed Property

Administrator at the following address: Post Office Box 214, Trenton, New Jersey 08695-0214,

Attn: Denise Provost.




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  SO ORDERED.                    Signed: August 28, 2012




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